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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Ronald Satish Emrit, )
Plaintiff,
V. Civil Action No. 17-2849 (UNA)
Ajit Pai et al.,
Defendants.
MEMORANDUM OPINION

This matter is before the Court on its initial review of plaintiff's pro se complaint and
application for leave to proceed in forma pauperis. The Court will grant the application and
dismiss the complaint for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(h)(3)
(requiring the court to dismiss an action “at any time” it determines that subject matter
jurisdiction is wanting).

“Federal courts are courts of limited jurisdiction, They possess only that power
authorized by Constitution and statute,” and it is “~presumed that a cause lies outside this limited
jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations
omitted). A party seeking relief in the district court must at least plead facts that bring the suit
within the court’s jurisdiction. See Fed. R. Civ. P. 8(a). Failure to plead such facts warrants
dismissal of the action.

Plaintiff is a resident of Fort Worth, Texas. He sues members of the Federal
Communications Commission, President Donald Trump, Attorney General Jeff Sessions, the
Chairman of the Federal Trade Commission, Commerce Secretary Wilbur Ross, Small Business

Administrator Linda McMahon, and U.S. International Trade Commissioner Irving Williamson.

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Plaintiff alleges that the defendants violated his “constitutional rights by trying to repeal ‘net
neutrality,’ i.e. a doctrine in place which preserves the internet as an ‘even playing field... .”
Compl. at 3. Asa result, “the plaintiff has been feeling an unnecessary pressure to get his music
videos distributed by a company called Vydia....” Compl. 7 43. Plaintiff also contends that
“all eleven of the defendants have committed a material breach of contract” and have violated
“black-letter law” purportedly set out in several federal laws listed in the complaint. Compl. at
26. Plaintiff seeks $45 million in damages.

Under Article III of the Constitution, federal courts “may only adjudicate actual, ongoing
controversies,” Honig v. Doe, 484 U.S. 305, 317 (1988), of which “the core component of
standing is an essential and unchanging part[,]” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560
(1992). In order to satisfy the standing requirement, a plaintiff must establish at a minimum (1)
that he has “suffered an injury in fact—an invasion of a legally protected interest which is (a)
concrete and particularized; and (b) actual or imminent, not conjectural or hypothetical”; (2) that
‘“‘a causal connection” exists “between the injury and the conduct complained of. . ., and [is] not
the result of the independent action of some third party not before the court”; and (3) that the
injury will “likely” be redressed by a favorable decision. Jd. at 560-61 (alterations, internal
quotation marks, and citations omitted).

Plaintiff has not pleaded facts establishing his standing to sue, and “the defect of standing
is a defect in subject matter jurisdiction.” Haase vy. Sessions, 835 F.2d 902, 906 (D.C. Cir.
1987); see Lujan, 504 U.S. at 560 (noting that “the core component of standing is an essential
and unchanging part of the case-or-controversy requirement of Article III”). Plaintiffs claim is
at most “a ‘generalized grievance’ shared in substantially equal measure by .. . a large class of

citizens,” and such grievances “normally do[ ] not warrant exercise of jurisdiction.” Warth v.
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Seldin, 422 U.S. 490, 499 (1975). Hence, this case Cotas agoean order

accompanies this Memorandum Opinion. ( /

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Date: April ly , 2018 United States Distric\ Judge
